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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                             Criminal Action No. 1:21-cr-00670 (CJN)

STEPHEN K. BANNON,

              Defendant.


                                             ORDER

       Pending before the Court is the government’s Motion in Limine to Exclude Evidence or

Argument Relating to Good-Faith Reliance on Law or Advice of Counsel, ECF No. 29. For the

reasons given on the record at the March 16 hearing and discussed below, the Court grants the

Motion.

       In Licavoli v. United States, the Court of Appeals held:

               Since, as we have remarked, it has been established since the Sinclair
           case, supra, that reliance upon advice of counsel is no defense to a charge
           of refusing to answer a question, such reliance is not a defense to a charge
           of failure to respond [to a Congressional subpoena]. The elements of intent
           are the same in both cases. All that is needed in either event is a deliberate
           intention to do the act. Advice of counsel does not immunize that simple
           intention. It might immunize if evil motive or purpose were an element of
           the offense. But such motive or purpose is not an element of either of these
           offenses. We are of opinion that the doctrine laid down in Sinclair applies
           also to a charge of willfully making default. Advice of counsel cannot
           immunize a deliberate, intentional failure to appear pursuant to a lawful
           subpoena lawfully served.

               In the case at bar there can be no serious dispute about the deliberate
           intention of Licavoli not to appear before the Committee pursuant to its
           subpoena. That he meant to stay away was made abundantly clear. That he
           did so upon the advice of a lawyer is no defense. The trial judge correctly
           instructed the jury.

294 F.2d 207, 209 (D.C. Cir. 1961) (emphasis added).




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       In his opposition to the government’s Motion, Bannon argued that Licavoli was no longer

binding on this Court. See Def.’s Opp. to Gov’t Mot. in Limine, ECF No. 30, at 13–14. At the

March 16 hearing, the Court rejected these arguments, holding that:

              The defendant offered two reasons in his brief why this Court should
           ignore the holding of Licavoli, but neither of those arguments is persuasive.

               First, defendant claims Licavoli relied on bad law, specifically the now-
           disavowed Supreme Court case of Sinclair v. United States. It is true that
           subsequent Supreme Court cases have cut back on some of the holdings of
           Sinclair, but not the holding that Licavoli relies on.

               And even if the Supreme Court had done so, the defendant has cited to
           no authority[,] and the Court has located none of its own, that would allow
           me to ignore otherwise binding precedent, just because some of the cases
           on which it relied are no longer good law.

               Second, the defendant notes that in the six[ ] decade[s] since Licavoli,
           the Supreme Court has provided clarity on the meaning of ‘willfully’ in
           criminal statutes. Clarity that favors defendant. That might very well be
           true. But none of that precedent dealt with the charge under 2 U.S. Code.
           Section 192. Licavoli did. Thus, while this precedent might furnish
           defendant with arguments to the Court of Appeals on why Licavoli should
           be overruled, this court has no power to disregard a valid and on-point or
           seemingly on-point holding from a higher court.

Trans. of Oral Arg., March 16, 2022 (“Trans.”), at 88:15–89:12.

       But at the hearing, Bannon also raised a new argument: that Licavoli is inapplicable

because it did not involve a claim of executive privilege. See id. at 89:13–90:16. Since this

argument had not been briefed, the Court asked the parties for supplemental briefing. See Def.’s

Supp, Br. in Opp. (Def.’s Supp.”), ECF No. 41; United States’ Resp. to Def.’s Supp. Br. (“Gov’t

Resp.”), ECF No. 43.

       In his supplemental brief, Bannon notes the differences between his reliance on a claimed

invocation of executive privilege and Licavoli, which included no claim of privilege. See Def.’s

Supp. at 1–7. And Bannon argues that, because this case involves an inter-branch dispute, while




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Licavoli did not, it is not binding here. See id. at 7–10. The government disagrees. It argues that

Licavoli’s rejection of the advice of counsel defense turned on the mens rea element of 2 U.S.C.

§ 192, which cannot be different depending on the specific circumstances of the case, and which

requires proof only of a deliberate and intentional failure to appear or produce records. See Gov’t

Resp. at 2–4.1 As the government puts it, “[b]y advocating to allow him to raise an advice-of-

counsel defense in his case, even though it is not available to others charged with contempt of

Congress, the Defendant necessarily is advocating that the intent element of the offense should

change depending on the factual circumstances of the crime.” Id. at 4. And, the government

argues, the differences that Bannon points to do not relate to the mens rea element or an advice-

of-counsel defense. See id. at 5–9.

       The Court agrees with the government. As the Court noted at the March 16 hearing, “[i]f

this were a matter of first impression, the Court might be inclined to agree with defendant and

allow this evidence in.” Trans. at 87:11–13. But for the reasons stated on the record during the

March 16 hearing, Licavoli remains binding, and Bannon has failed to demonstrate that it is

inapplicable here. After all, Licavoli involved a prosecution under the exact statute that Bannon

is charged with violating, see Licavoli, 294 F.2d at 207, and the Court of Appeals expressly held

that an advice-of-counsel defense is unavailable for that charge. See id at 207–09. Just as

important, the Court of Appeals rejected the availability of that defense because of the mens rea




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  Other courts have held that 2 U.S.C. § 192 requires only a deliberate and intentional failure to
appear or produce records. See, e.g., United States v. Bryan, 339 U.S. 323 (1950); United States
v. Fleischman, 339 U.S. 349 (1950); Dennis v. United States, 171 F.2d 986, 990–91 (D.C. Cir.
1948); Fields v. United States, 164 F.2d 97, 99–100 (D.C. Cir. 1947).


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required for a violation of 2 U.S.C. § 192, and Bannon has provided no reason to believe that the

mens rea element can or should be different depending on the circumstances of specific cases. 2

       Accordingly, it is

       ORDERED that the government’s Motion in Limine to Exclude Evidence or Argument

Relating to Good-Faith Reliance on Law or Advice of Counsel, ECF No. 29, is GRANTED.


DATE: April 6, 2022
                                                           CARL J. NICHOLS
                                                           United States District Judge




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 Because the Court concludes that the government is correct, it need not reach the question
whether Bannon waived the arguments in his supplemental brief by failing to include them in his
original opposition to the government’s Motion.


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